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                 EXHIBIT A
   FILED UNDER SEAL
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                                                                      Page 1
             UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA

                  SAN FRANCISCO DIVISION



WAYMO LLC,

         Plaintiff,

vs.                                 No. 3:17-cv-00939-WHA

UBER TECHNOLOGIES, INC.;

OTTOMOTTO LLC; OTTO TRUCKING,

INC.,

         Defendants.

_____________________________/



      WAYMO & UBER CONFIDENTIAL ATTORNEYS' EYES ONLY



         VIDEOTAPED DEPOSITION OF GREGORY KINTZ

                 SAN FRANCISCO, CALIFORNIA

                 WEDNESDAY, APRIL 26, 2017




BY:   ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~

CSR LICENSE NO. 9830

JOB NO. 2592507



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                                                                           Page 34
1            Were you able to determine that the GBr3                       11:39

2    boards had



                                                                            11:39

5        A   Yes.                                                           11:39

6        Q   Without even relying to

                    depicted on page 5?                                     11:39

8        A   Yes.                                                           11:39

9        Q   Okay.    So, why did you need to refer to the                  11:39

                            ?                                               11:39

11      A    They give




                                                                            11:39

15      Q    So, you didn't measure -- so what -- let me                    11:40

16   just make sure I understand.                                           11:40

17           You said you did not detail

                                                                            11:40

19           How would you have

                                                                            11:40

21      A    The way to do that is by taking the                            11:40




                                                                            11:40
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                                                                           Page 36
                                                                            11:41

2        Q    Not the

                        ?                                                   11:42

4        A    The diode is                                                  11:42

5        Q    So that would be                      ?                       11:42

6        A    Correct.                                                      11:42

7        Q    And underneath that,

                      ?                                                     11:42

9        A    Uh-huh.                                                       11:42

10      Q     What does that represent?                                     11:42

11      A                                    .                              11:42

12      Q     Okay.   Now, would you look at

                                                                  ?         11:42

14      A     No.                                                           11:42

15      Q     No?                                                           11:42

16            Why not?                                                      11:42

17      A     Well, if you -- the most accurate way is to                   11:42

18   do the previous calculation that I discussed, which is                 11:42




                                                                            11:42

22      Q     Okay.   But I -- I understood that it would                   11:43

23   also be helpful to look at                            as well;         11:43

24   right?                                                                 11:43

25      A     Yes.                                                          11:43
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                                                                           Page 49
1    paragraph 33 of your original declaration?                             12:07

2        A   Again, I was the -- used the                                   12:07

3    information that was available to me at the time to                    12:07

4    determine

                                                                            12:07

6        Q   Okay.    Since we don't have that document in                  12:07

7    front of us, maybe we can just walk through it.                        12:07

8            So the -- it looks like you're comparing                       12:07

                                                            in the          12:07

10   Fuji board in paragraph 33; is that correct?                           12:08

11           MR. JAFFE:     I'm going to -- excuse me.          I'm         12:07

12   going to object to you asking these questions without                  12:08

13   putting the document in front of him.                                  12:08

14           MR. KIM:     Q.   Well, let me just ask you:         Can       12:08

15   you explain generally how you got the                                  12:08

16   referenced in paragraph 33?                                            12:08

17      A    Yes.                                                           12:08

18      Q    Okay.    How did you do that?                                  12:08

19      A    The                     information is a text                  12:08

20   human readable file that is

                                                                            12:08

22           I then imported that text file into a program                  12:08

23   called Microsoft Excel, which allowed me to do                         12:08

24   numerical calculations on the data contained in that                   12:08

25   text file.                                                             12:08
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                                                                           Page 50
1            And in that Excel file, I computed

                                                       , as                 12:08

3    previously discussed.                                                  12:09

4       Q    Okay.




                                                                            12:09

11      Q    Okay.    And I -- I just want to clarify.                      12:09

12           So, earlier we were looking at

                   for the GBr3.                                            12:09

14           Do you recall that?                                            12:09

15      A    Yes.                                                           12:09

16      Q    By



                                               ; is that correct?           12:09

19      A    No.    I was computing the --                         .        12:09

20      Q    Using                                      ?                   12:09

21      A    Yes.                                                           12:10

22      Q    And then there is this number

                              .                                             12:10

24           Do you see that in paragraph 33?                               12:10

25      A    Yes.                                                           12:10
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                                                                              Page 54
1               But let me ask you my next question, which                     12:13

2    is:    You also looked at the

                              ?                                                12:13

4          A    Correct.                                                       12:13

5          Q    And that was part of your determination as to                  12:13

6    whether or not there was

                        ; correct?                                             12:13

8               MR. JAFFE:     Objection; form.                                12:13

9               THE WITNESS:      There is -- as demonstrated by               12:13

10   the information in the                           file, that there         12:13

11   is

                                                           .                   12:14

13              MR. KIM:     Q.   So you could look at the                     12:14



                                                                         ?     12:14

16         A    The          information by itself would not                   12:14

17   yield enough data to actually produce that                                12:14

18   information.                                                              12:14

19         Q    Why not?                                                       12:14

20         A    Because



                                                                               12:14

23         Q    And so you would need to look at



                                                     ; correct?                12:14
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                                                                           Page 55
1        A     Correct.                                                     12:14

2        Q     And earlier you -- you said that you were                    12:14

3    able to determine whether the GBr3 boards were --

                                                  just by looking           12:15

5    at them; correct?                                                      12:15

6              MR. JAFFE:    Objection; form.                               12:15

7              THE WITNESS:     Yes.                                        12:15

8              MR. KIM:    Q.   And you were able to do the                 12:15

9    same based on your visual inspection of the Fuji                       12:15

10   boards; correct?                                                       12:15

11      A      Yes.                                                         12:15

12      Q      So, are you telling me that just by visually                 12:15

13   inspecting the Fuji boards, you were able to determine                 12:15

14   what the --                        were?                               12:15

15             MR. JAFFE:    Objection; form.                               12:15

16             THE WITNESS:     No, I did not make that                     12:15

17   determination.                                                         12:15

18             MR. KIM:    Q.   Were you able to determine the              12:15

19                    just from visually inspecting the Fuji                12:15

20   boards?                                                                12:15

21      A      The -- not to a high degree of accuracy.           But       12:15




                                                                            12:16

25      Q      But that's not responding to my question.                    12:16
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                                                                           Page 56
1             My question is:      Were you able to determine               12:16

2                        for the Fuji boards that you visually              12:16

3    inspected?                                                             12:16

4             MR. JAFFE:    Objection; form.                                12:16

5             THE WITNESS:     Then I guess no, I was not able              12:16

6    to determine.                                                          12:16

7             MR. KIM:    Q.   And were you able to determine               12:16

8                                                          of the           12:16

9    Fuji boards that you visually inspected?                               12:16

10      A     No, not to -- no.                                             12:16

11      Q     I wanted to go back to your reply                             12:17

12   declaration --                                                         12:17

13            MR. JAFFE:    Just --                                         12:17

14            MR. KIM:    Q.   -- in paragraph 4.                           12:17

15      A     (Witness complies.)                                           12:17

16            MR. JAFFE:    -- just as a matter of                          12:17

17   scheduling -- I -- I don't mean to interrupt.            I'm           12:17

18   just curious when we're going to do lunch.                             12:17

19            MR. KIM:    I'd started my question.                          12:17

20            MR. JAFFE:    I'm just asking for lunch, so --                12:17

21   sorry.   Go ahead.    It's not a matter of interrupting                12:17

22   you.   I'm just curious.                                               12:17

23            MR. KIM:    Q.   So, Mr. Kintz, in paragraph 4,               12:17

24   you're referring to

                                                                            12:17
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                                                                        Page 63
1                 A F T E R N O O N        S E S S I O N

2                                1:05 P.M.

3

4                THE VIDEOGRAPHER:       We are back on the record          13:05

5    at 1:05 p.m.                                                           13:05

6                MR. KIM:   Q.   Mr. Kintz, we were talking                 13:05

7    about                       .   And I wanted to ask you what           13:05

8    you meant by                                      in your              13:05

9    declaration, for example, in paragraphs 4 and 5 which                  13:06

10   we had been discussing.                                                13:06

11       A    The definition of




                                                                            13:06

15       Q    Okay.    And so, if




             ?                                                              13:06

19       A    Yes, I would agree with that statement.                       13:06

20       Q    Okay.    And is it also your testimony that if                13:06




                                     ?                                      13:07

24            MR. JAFFE:     Excuse me.      Objection; form.               13:07

25            THE WITNESS:       In a more broad definition of              13:07
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                                                                        Page 64
1                         , yes, that would.                                13:07

2             I believe, in the context of the Trade Secret                 13:07

3    that we're discussing right now, no, because that                      13:07

4                                                .                          13:07

5             MR. KIM:    Q.   So, just to make sure I -- I                 13:07

6    understand your answer, if you had




                                      ?                                     13:08

14       A    Yes.                                                          13:08

15            MR. JAFFE:     Objection; form.                               13:08

16            Just give me a second to object, please.                      13:08

17            THE WITNESS:     Yeah.                                        13:08

18            MR. JAFFE:     Thank you.                                     13:08

19            THE WITNESS:     Yes, within the context of your              13:08

20   statement, yes.                                                        13:08

21            MR. KIM:    Okay.    So I'd like to mark this as              13:08

22   1038, I believe.                                                       13:08

23            (Document marked Exhibit 1038                                 13:09

24             for identification.)                                         13:09

25            MR. KIM:    Q.   Do you recognize Exhibit 1038?               13:09
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                                                                        Page 89
1             THE WITNESS:     No.    With the data that you've             13:55

2    given me right here at this time, with the equipment                   13:56

3    that's available to me, I cannot make a determination.                 13:56

4             MR. KIM:    Q.   And what would you need to make              13:56

5    that determination?                                                    13:56

6        A    I would need to have information that gave me                 13:56




                                                                            13:57

13       Q    And the same would be true for Exhibit 1043                   13:57

14   that you were just looking at before that?                             13:57

15       A    No.    1043 actually has component information                13:57

16   on it.                                                                 13:57

17       Q    Okay.    And what would you need to determine                 13:57

18   whether or not the diodes have

              for the board depicted in Exhibit 1043?                       13:57

20       A    Ideally, I would need a way of expanding the                  13:57

21   image and



                    , and from that information, computing the              13:58

24   data.                                                                  13:58

25            I frequently do that type of analysis in                      13:58
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                                                                        Page 90
1    graphics programs.      I in particular use a program                  13:58

2    called CorelDRAW that allows me to do this type of                     13:58

3    detailed point-by-point analysis.                                      13:58

4        Q    And that would be for the purpose of                          13:58

5                                                           ?               13:58

6        A    That's correct.                                               13:58

7        Q    And you didn't do that for the board depicted                 13:58

8    in Exhibit 1043; correct?                                              13:58

9        A    That's correct.                                               13:58

10       Q    Okay.                                                         13:58

11            (Document marked Exhibit 1045                                 13:58

12             for identification.)                                         13:59

13            MR. KIM:    I have the same question for                      13:59

14   Exhibit No. 1045, which bears Bates No. Uber00008610.                  13:59

15       Q    Does this exhibit depict

                                                                   ?        13:59

17       A    This document is an assembly document.            So          13:59




                                                                            13:59

22       Q    So sitting here today, you can't tell me                      13:59

23   whether or not the board depicted in Exhibit 1043 has                  13:59

24   continuing varying --                                                  13:59

25            MR. JAFFE:     1045, I'm assuming you're asking               13:59
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                                                                       Page 123
1    declaration, paragraph 40.        And actually, let's move             15:03

2    ahead to paragraph 43.                                                 15:03

3           A   (Witness complies.)                                         15:03

4           Q   Do you see in the first sentence where you                  15:04

5    say:                                                                   15:04

6               "Moreover, both Liu and Schultz dissertation                15:04

7    teach away from                                    ."                  15:04

8           A   Yes.                                                        15:04

9           Q   What is a                          ?                        15:04

10       A      Depending on the application of the laser                   15:04

11   diode, either single emitter device or laser diode                     15:04

12   bar,




                                                                            15:04

16       Q      For the GBr3, what would be

                ?                                                           15:04

18              MR. JAFFE:   Objection; form.                               15:04

19              THE WITNESS:   Without having gone through                  15:05

20   computations of the --




                                                                            15:05

24              However, in the deposi- -- in the                           15:05

25   declarations of the Google engineer, Pierre Droz, they                 15:05
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                                                                        Page 125
1        Q    What about                 ?                                  15:07

2        A    Again, you're asking me to do calculations                    15:07

3    that I don't have information available to me in terms                 15:07

4    of the detailed design properties of the system.                       15:07

5        Q    You know, earlier we were looking at the                      15:07

6    Trade Secret No. 7, and you confirmed there was no                     15:07

7    requirement of                              .                          15:07

8             Do you recall that?                                           15:07

9        A    Yes.                                                          15:08

10       Q    Where does it say in Trade Secret 7 that the                  15:08

11                                       ?                                  15:08

12       A    The significance in the Trade Secret is the                   15:08




                                                                            15:08

17       Q    But where does it

                          ?                                                 15:09

19       A    Trade Secret No. 7 doesn't have

                                                                    .       15:09

21            (Document marked Exhibit 1048                                 15:09

22             for identification.)                                         15:09

23            MR. KIM:    Okay.    I'd like to hand you                     15:09

24   deposition Exhibit No. 140 -- 1048.                                    15:09

25            MR. JAFFE:      Can I get a copy, please?                     15:09
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                                                                       Page 128
1        A      Yes.                                                        15:12

2        Q      And above that label,



                                                                            15:13

5               Do you see that?                                            15:13

6        A      Yes.                                                        15:13

7        Q      Okay.    This depicts

                ; correct?                                                  15:13

9        A      Again,




                                                                            15:13

15       Q     That's not my question.                                      15:13

16             My question is:     That figure depicts



             ; correct?                                                     15:13

19            MR. JAFFE:     Objection; form.                               15:13

20            THE WITNESS:     As you see in this figure,                   15:13

21   there is                  .                                            15:13

22            But the greater body of knowledge of the                      15:13

23   packaging of even the specific type of high-powered                    15:13

24   laser diode bars as referenced in the Liu textbook                     15:14

25   indicates that the ideal configuration for these                       15:14
